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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

MILDRED URANGA                                      §
   Plaintiff,                                       §          C.A. NO.: 3:13-cv-02213
v.                                                  §
                                                    §
HOLIDAY MARKET, INC.,                               §
and ABDUL WAFAYEE                                   §
    Defendants.                                     §

                             SUGGESTION OF BANKRUPTCY

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Abdul Wafayee, Defendant, and herein files this Suggestion of

Bankruptcy. Abdul Wafayee filed Chapter 7 Bankruptcy in the Northern District of Texas on

December 12, 2013, assigned case number 13-45622-dml7.

                                             Respectfully submitted,

                                             LAW OFFICES OF S. GARY WERLEY




                                             By: ____/s/ S/ Gary Werley__________
                                                    S. GARY WERLEY
                                                    State Bar No. 21187000

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                                             Granbury, Texas 76049
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                                             ATTORNEY FOR DEFENDANT



    I certify that a copy of this instrument was served upon counsel of record by ECF on the date
of filing.

                                                    ____/s/ S/ Gary Werley__________
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